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                                             Certificate Number: 06531-MN-DE-032452727
                                             Bankruptcy Case Number: 19-40490


                                                           06531-MN-DE-032452727




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on March 16, 2019, at 7:09 o'clock PM CDT, Leslie T Weiner
completed a course on personal financial management given by internet by Allen
Credit and Debt Counseling Agency, a provider approved pursuant to 11 U.S.C. §
111 to provide an instructional course concerning personal financial management
in the District of Minnesota.




Date:   March 16, 2019                       By:      /s/Laura Stevens


                                             Name: Laura Stevens


                                             Title:   Credit Counselor
